             Case: 19-11781     Doc: 15    Filed: 07/03/19   Page: 1 of 16




                      UNITED STATES BANKRUPTCY COURT
                       WESTERN DISTRICT OF OKLAHOMA

In Re
                                                  Case No. 19-11781-JDL
John Saner,
                                                  Chapter 13
               Debtor.
                                                  OBJECTION TO
                                                  CONFIRMATION OF
                                                  CHAPTER 13 PLAN


             OBJECTION TO CONFIRMATION OF CHAPTER 13 PLAN

        COMES NOW Specialized Loan Servicing, LLC as servicer for HSBC

Bank USA, National Association as Trustee in trust for Citigroup Mortgage Loan

Trust Inc., Asset Backed Pass-Through Certificates Series 2005-SHL1, and its

successors and assigns, “Creditor” herein, pursuant to Rule 3015 of the Federal

Rules of Bankruptcy Procedure, and states and alleges as follows:

        1.      John Saner ("Debtor") filed his Chapter 13 Bankruptcy petition on

May 1, 2019 and it is currently pending before this Court.

        2.      This Court has jurisdiction over this matter pursuant to 28 U.S.C.

Sections 1334 and 157 and 11 U.S.C. Sections 1322 and 1325.

        3.      On January 28, 2003, a negotiable promissory note ("Note") was

executed in favor of Brenner Mortgage Corp., in the principal amount of

$94,500.00 plus interest to accrue thereon at the rate of 7.750% per annum. A

copy of said Note is marked Exhibit 1 and is attached hereto and incorporated

herein by reference.

        4.      The Note is secured by a Mortgage ("Mortgage") on certain real


*KM12325324KM*
           Case: 19-11781     Doc: 15        Filed: 07/03/19   Page: 2 of 16




property and improvements located at 1716 Magnolia Lane, Edmond, OK 73013.

A copy of said Mortgage is marked Exhibit 2 and is attached hereto and

incorporated herein by reference. The Mortgage was recorded on February 4,

2003. The subject real estate is legally described as follows:

          LOT TWENTY-TWO (22), IN BLOCK ELEVEN (11), OF RIPPLE
      CREEK 3RD ADDITION, TO THE CITY OF EDMOND, OKLAHOMA
      COUNTY, OKLAHOMA, ACCORDING TO THE RECORDED PLAT
      THEREOF.

              (hereafter, the “Property”).

      5.      Creditor asserts that it is the current holder of the above referenced

Note and Deed of Trust.

      6.      The Debtor`s Chapter 13 Plan does not adequately protect Creditor

in that Debtor propose to value the property at $130,000.00 and lists $49,000.00

as the prepetition arrearage amount owed to Creditor. The prepetition arrearage

amount owed to Creditor is approximately $132,757.71.

      WHEREFORE, Specialized Loan Servicing, LLC as servicer for HSBC

Bank USA, National Association as Trustee in trust for Citigroup Mortgage Loan

Trust Inc., Asset Backed Pass-Through Certificates Series 2005-

SHL1respectfully prays this Court deny confirmation of Debtor`s Chapter 13 Plan

and for such other orders as the Court deems appropriate.




*KM12325324KM*
          Case: 19-11781      Doc: 15    Filed: 07/03/19    Page: 3 of 16




                                                 Kozeny & McCubbin, L.C.

                                                 By: Jonathon B. Burford
                                                 Jonathon B. Burford, #59337
                                                 Carolyn K. Hebert, #15944
                                                 Attorneys for Movant
                                                 12400 Olive Blvd., Suite 555
                                                 St. Louis, MO 63141
                                                 Phone: (314) 991-0255
                                                 Fax: (314) 567-8019
                                                 okbk@km-law.com


I certify that on the 3rd day of July, 2019, a true and correct copy of the Objection
to Confirmation of Plan was served electronically via CM/ECF upon the following
parties:

Roland V. Combs, III
Attorney for Debtor
P.O. Box 60647
3200 NW 48th Street #104, OKC 73112
Oklahoma City, OK 73147

John T. Hardeman
Trustee
PO Box 1948
Oklahoma City, OK 73101

Office of the US Trustee
U.S. Trustee
215 Dean A. McGee Ave., 4th Floor
Oklahoma City, OK 73102


And delivered via regular U.S. Mail on July 3, 2019 to:

John Saner
Debtor
1716 Magnolia Lane
Edmond, OK 73013

/s/ Chad Hibbitts
Chad Hibbitts




*KM12325324KM*
Case: 19-11781   Doc: 15   Filed: 07/03/19   Page: 4 of 16
Case: 19-11781   Doc: 15   Filed: 07/03/19   Page: 5 of 16
Case: 19-11781   Doc: 15   Filed: 07/03/19   Page: 6 of 16
Case: 19-11781   Doc: 15   Filed: 07/03/19   Page: 7 of 16
Case: 19-11781   Doc: 15   Filed: 07/03/19   Page: 8 of 16
Case: 19-11781   Doc: 15   Filed: 07/03/19   Page: 9 of 16
Case: 19-11781   Doc: 15   Filed: 07/03/19   Page: 10 of 16
Case: 19-11781   Doc: 15   Filed: 07/03/19   Page: 11 of 16
Case: 19-11781   Doc: 15   Filed: 07/03/19   Page: 12 of 16
Case: 19-11781   Doc: 15   Filed: 07/03/19   Page: 13 of 16
Case: 19-11781   Doc: 15   Filed: 07/03/19   Page: 14 of 16
Case: 19-11781   Doc: 15   Filed: 07/03/19   Page: 15 of 16
Case: 19-11781   Doc: 15   Filed: 07/03/19   Page: 16 of 16
